Case 1:21-cv-00293-JPH-DLP Document 1-1 Filed 02/04/21 Page 1 of 18 PagelID #: 4
This is not the official court record. Official records of court proceedings may only be obtained directly from
the court maintaining a particular record.

Robert D Morrison v. JoshuaJ Anderson, Hanging J. Transport

Case Number 49D01-2101-CT-001827
Court Marion Superior Court 1
Type CT - Civil Tort

Filed 01/19/2021

Status 01/19/2021 , Pending (active)

Parties to the Case
Defendant Anderson, Joshua j

Address
84547 510 Ave
Elgin, NE 68636

 

Attorney
Christopher R Whitten
#2042949, Lead, Retained

WHITTEN LAW OFFICE
6801 Gray Road

Suite H

Indianapolis, IN 46237
317-362-0225(W)

 

Attorney
James Lee Culp

#2632649, Retained

WHITTEN LAW OFFICE
6801 Gray Road

Suite H

Indianapolis, IN 46237
317-362-0225(W)

Defendant Hanging J. Transport

 
Case 1:21-cv-00293-JPH-DLP Document 1-1 Filed 02/04/21 Page 2 of 18 PagelD #: 5
Address
306 E Columbia St
Attica, IN 47918

Attorney
Christopher R Whitten

#2042949, Lead, Retained

 

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6801 Gray Road

Suite H

Indianapolis, IN 46237
317-362-0225(W)

Attorney
James Lee Culp

#2632649, Retained

WHITTEN LAW OFFICE
6801 Gray Road

Suite H

Indianapolis, IN 46237
317-362-0225(W)

Plaintiff Morrison, Robert D

Address
10586 Talisman Dr
Noblesville, IN 46060

Attorney
Kaitlin Astorino

#3255249, Retained

Isaacs and Isaacs

1601 Business Center Court
Louisville, KY 40299
502-458-1000(W)

Chronological Case Summary
01/19/2021 Case Opened as a New Filing

01/19/2021 Complaint/Equivalent Pleading Filed
Complaint
Filed By: Morrison, Robert D
File Stamp: 01/19/2021
01/19/2021 Appearance Filed
Appearance of Kaitlin Coons Astorino
For Party: Morrison, Robert D
File Stamp: 01/19/2021
01/19/2021 Subpoena/Summons Filed
Summons
Filed By: Morrison, Robert D

File Stamp: 01/19/2021
 

Case
01/19/2021

01/22/2021

01/22/2021

01/22/2021

01/23/2021

1:21-cv-00293-JPH-DLP Document 1-1 Filed 02/04/21
Subpoena/Summons Filed

Summons
Filed By: Morrison, Robert D
File Stamp: 01/19/2021

Appearance Filed
Appearance by Attorney in Civil Case

For Party: Anderson, Joshua }
For Party: Hanging |. Transport
File Stamp: 01/22/2021

Motion for Enlargement of Time Filed
Motion for Enlargement of Time

Filed By: Anderson, Joshua J
Filed By: Hanging J. Transport
File Stamp: 01/22/2021

Order Granting Motion for Enlargement of Time

Judicial Officer: Marchai, Jeffrey L. - MAG
Order Signed: 01/22/2021

Automated ENotice Issued to Parties

Page 3 of 18 PagelD #: 6

Order Granting Motion for Enlargement of Time ---- 1/22/2021 : Christopher. R Whitten;James Lee Culp; Kaitlin Astorino

Financial Information
* Financial Balances reflected are current representations of transactions processed by the Clerk’s Office. Please note that any

balance due does not reflect interest that has accrued - if applicable - since the last payment. For questions/concerns regarding

balances shown, please contact the Clerk's Office.

Morrison, Robert D

 

 

 

 

 

 

 

 

Plaintiff
Balance Due (as of 02/03/2021)
0.00
Charge Summary
Description Amount Credit Payment
Court Costs and Filing Fees 157.00 0.00 157.00
Transaction Summary
Date Description Amount
01/19/2021 Transaction Assessment 157.00
01 /19/2021 Electronic Payment qd 57.00)

 

 

 

 

This is not the official court record. Official records of court proceedings may only be obtained directly from
the court maintaining a particular record.

 
Case 1:21-cv-00293-JPH-DLP Document 1-1 Filed 02/04/21 Page 4 of 18 PagelD #: 7

49D01-2101-CT-001827 Filed: 1/19/2021 ‘134 AM
lerk
Marion Superior Court 1 Marion County, indiana
STATE OF INDIANA ) IN THE COURT OF
) SS: MARION COUNTY

COUNTY OF MARION )

 

 

ROBERT D. MORRISON

Plaintiff.

VS. Cause no.

 

ELECTRONICALLY FILED

JOSHUA J. ANDERSON
84547 510 Ave
Elgin, NE 68636

and

HANGING J. TRANSPORT
20166 Nicole Dr.
Morrill, NE 69358

Serve: Pamela Warner
306 E Columbia St
Attica, IN 47918

Defendants.

Nee Name Ne Ne ee eee ee ee ee eee ee eee

COMPLAINT AND DEMAND FOR JURY TRIAL
Comes now Plaintiff, Robert Morrison, by counsel, and for his claims and causes of action
against Defendants herein, states as follows:
l. Plaintiff, Robert D. Morrison, is and was at all times relevant herein, a resident of

Hamilton County, Noblesville, Indiana.
Case 1:21-cv-00293-JPH-DLP Document 1-1 Filed 02/04/21 Page 5 of 18 PagelD #: 8

2. Defendant, Joshua J. Anderson (hereinafter “Anderson’”), is and was at all times
relevant herein, believed to be a resident of 84547, 510 Ave, Elgin, NE, 68636.

3. Defendant, Hanging J. Transport (hereinafter “Hanging J.”), is a Nebraska

 

Corporation legally doing business in this state of Indiana with a principal office address of 20166
Nicole Dr., Morrill, NE 69358, and a Registered Agent, Pamela Warner, 306 E Columbia Attica,
IN 47918.

4, At all times relevant herein, Defendant Anderson was driving a commercial motor
vehicle in interstate commerce and was subject not only to Indiana traffic laws and safety
regulations, but also the Federal Motor Carrier Safety Regulations.

5. At all times relevant herein, Defendant Anderson was the agent, servant, and/or
statutory employee for Defendant Hanging J., operating for the benefit of, in furtherance of the
interests of and/or within the course and scope of his employment with Defendant Hanging J and/or
was the employer of Anderson as defined by 49 C.F.R. 383.5 and 390.5. Accordingly, Defendant
Hanging J. is vicariously liable for the acts of Defendant Anderson. Regardless of the employment
or agency relationship, Defendant Hanging J. is an interstate motor carrier responsible for the acts
of Defendant Anderson.

6. That on or about February 15, 2019, Plaintiff was driving his vehicle with all due
care in Marion County, Indiana.

7. That on that date and at the place set out above, Defendant Anderson was operating
the vehicle owned by Defendant Hanging J. in such a negligent manner so as to cause it to collide
with the Plaintiff.

8. More specifically, Defendant Anderson was cited for a violation of Ind. Code 9-21-

8-14 for following to closely, failed to maintain a proper lookout, was distracted by a cellular
Case 1:21-cv-00293-JPH-DLP Document 1-1 Filed 02/04/21 Page 6 of 18 PagelD #: 9

phone and/ or GPS device,
9, That as a direct and proximate result of said collision, Plaintiff suffered severe
bodily injuries.

CLAIMS AGAINST JOSHUA J. ANDERSON
COUNT I: NEGLIGENCE

10. Plaintiff adopts and reiterates each and every allegation above as if set out fully
herein and incorporates the same by reference.

Il. That as a direct proximate result of the negligence of Defendant Anderson, Plaintiff
was caused to suffer serious bodily injuries, as well as, pain, suffering, mental anguish, and
inconvenience and will continue to suffer such pain, suffering, mental anguish, and inconvenience
in the future.

12. That as a direct and proximate negligence of the Defendant Anderson, Plaintiff has
incurred, and will continue to incur in the future, medical expenses and physician expenses.

13. That as a direct and proximate result of the negligence of Defendant Anderson,
Plaintiff has suffered lost wages as well as a permanent impairment of his ability to earn money in
the future.

CLAIMS AGAINST HANGING J. TRANSPORT
COUNT II: RESPONDEAT SUPERIOR

14. Plaintiff adopts and reiterates each and every allegation above as if set forth fully
herein and incorporates the same by reference.

15. Upon information and belief, that on the date and time of the negligent actions of
Defendant Anderson, Defendant Hanging J. is, and was the owner of the vehicle being operated
by Defendant Anderson.

16. That on the date and time of the negligent actions of Defendant Anderson, said
Case 1:21-cv-00293-JPH-DLP Document 1-1 Filed 02/04/21 Page 7 of 18 PagelD #: 10

Defendant was acting within the course and scope of his employment with Defendant Hanging J.

17. As a direct and proximate result of the negligence of Defendant Anderson in
operating the vehicle in the scope of his employment, the doctrine of Respondeat Superior applies
and transfers liability to Defendant Hanging J.

COUNT Hl: NEGLIGENT HIRING AND RETENTION

18. Plaintiff adopts and reiterates each and every allegation as if set out fully herein
and incorporate the same by reference.

19. That Defendant Hanging J. knew or should have known through the use of ordinary
care when it hired Defendant Anderson that said Defendant was negligent and/or careless.

20. That Defendant Hanging J., upon the use of ordinary care in determining that
Defendant Anderson was negligent and/or careless, was negligent in retaining Defendant
Anderson as an employee and allowing said employee to continue to operate its vehicle in such a
negligent manner so as to cause it to collide with Plaintiff, thereby causing Plaintiff to suffer severe
bodily injuries.

21. That as a direct and proximate result of the negligence of Defendant Hanging J. in
hiring and/or retaining Defendant Anderson, Plaintiff has sustained severe and permanent bodily
injury; has incurred and will continue to incur medical bills and expenses in the future; has suffered
and will continue to suffer pain, suffering, mental anguish and inconvenience; has incurred lost
wages and will continue to lose wages; has suffered loss to property and has incurred a permanent
impairment of his power to labor and earn money.

COUNT IV: NEGLIGENT SUPERVISION AND TRAINING
22. Plaintiff adopts and reiterates each and every allegation as if set out fully herein

and incorporate the same by reference.
Case 1:21-cv-00293-JPH-DLP Document 1-1 Filed 02/04/21 Page 8 of 18 PagelD #: 11

23. That Defendant Hanging J. has a duty to ensure that its employees are properly
trained, licensed, and qualified.

24, That Defendant Hanging J. failed to properly train and/or supervise Defendant
Anderson to safely operate its vehicle on the aforementioned date.

25. That as a direct and proximate result of the negligence of Defendant Hanging J. in
failing to properly train and/or supervise Defendant Anderson, Plaintiff has sustained severe and
permanent bodily injury; has incurred and will continue to incur medical bills and expenses; has
suffered and will continue to suffer pain, suffering, mental anguish and inconvenience; has
incurred lost wages and will continue to lose wages; has suffered loss to property and has incurred
a permanent impairment of his power to labor and earn money,

26. That as a direct and proximate result of the negligence of Defendant Hanging J. in
training and/or supervising Defendant Anderson, Plaintiff has been caused to suffer damages in

excess of the surisdictional limits of this Court.

WHEREFORE, Plaintiff, Robert D. Morrison, by counsel, requests a judgement against
the Defendants Joshua J. Anderson and Hanging J. Transport, in favor of the Plaintiff in an amount

reasonably calculated to compensate Plaintiff for his damages including:

1. Past and future medical expenses;

2. Past and future physical and mental pain, suffering, anguish and
inconvenience;

3. Lost wages;

4. Diminished capacity to labor and earn income;

5. Prejudgment interest;
 

Case 1:21-cv-00293-JPH-DLP Document 1-1 Filed 02/04/21 Page 9 of 18 PagelD #: 12

6. Punitive Damages
7. Trial by jury; and
8. Any and all other appropriate relief to which Plaintiff may appear to be

justly entitled.

Respectfully,

/s/ Kaitlin Coons Astorino, Esq.

Kaitlin Coons Astorino, #35002-22
Isaacs & Isaacs, P.S.C.

1601 Business Center Court

Louisville, Kentucky 40299-2370
Telephone: (502) 458-1000

Facsimile: (502) 454-5512

Email: kaitlin@isaacsandisaacs.com
Counsel for Plaintiff, Robert D. Morrison

DEMAND FOR JURY TRIAL
Comes now the Plaintiff, Robert D. Morrison, and demands a trial by jury on all issues so

triable.

/s Kaitlin Coons Astorino
Kaitlin Coons Astorino, #35002-22
 

Case 1:21-cv-00293-JPH-DLP Document 1-1 Filed 02/04/21 Page 10 of 18 PagelD #: 13

 

49D01-2101-CT-001827 Filed: 1/19/2021 11:34 AM
Clerk
Marion Superior Court 1 Marion County, indiana
STATE OF INDIANA ) INTHE, COURT OF
) SS: MARION COUNTY
COUNTY OF MARION )
ROBERT D. MORRISON )
)
Plaintiffs, )
V. ) Cause no.
) ELECTRONICALLY FILED
JOSHUA J. ANDERSON, )
HANGING J. TRANSPORT, )
)
Defendants. )

APPEARANCE BY ATTORNEY IN CIVIL CASE
1. Initiating Party: Robert D. Morrison
2. Attorney Information: Kaitlin Coons Astorino, #35002-22
Isaacs & Isaacs, P.S.C.
1601 Business Center Court
Louisville, Kentucky 40299-2370
Telephone: (502) 458-1000
Facsimile: (502) 454-5512
Email: kaitlin@isaacsandisaacs.com
3. Are there other party members? No.
4, Case type requested: Civil Tort (CT)

5. Accept: (a) Fax Service: No.
(b) Courthouse Mailbox: No.

6. Does this case involve support issues? No.
7. Are there related cases? No.
8. Has this form been served on all other parties with certificate of service attached? No.

9. Additional Information: None.
Case 1:21-cv-00293-JPH-DLP Document 1-1 Filed 02/04/21 Page 11 of 18 PagelD #: 14

/s/ Kaitlin Coons Astorino, Esq.

Kaitlin Coons Astorino, #35002-22
Isaacs & Isaacs, P.S.C.

1601 Business Center Court

Louisville, Kentucky 40299-2370
Telephone: (502) 458-1000

Facsimile: (502) 454-5512

Email: kaitlin@isaacsandisaacs.com
Counsel for Plaintiff, Robert D. Morrison
Case 1:21-cv-00293-JPH-DLP Document 1-1 Filed 02/04/21 Page 12 of 18 PagelD #: 15

 

 

49D01-2101-CT-001827 Filed: 1/19/2021 seam
k
Marion Superior Court 1 Marion County, Indiana
STATE OF INDIANA ) IN THE _ _COURT OF
) SS: MARION COUNTY
COUNTY OF MARION )
ROBERT D. MORRISON )
)
Plaintiffs, )
Vv. ) Cause no.
) ELECTRONICALLY FILED
JOSHUA J. ANDERSON, )
HANGING J. TRANSPORT, )
)
Defendants. )
SUMMONS

THE STATE OF INDIANA TO: Hanging J. Transport.
ADDRESS: 306 E Columbia St
Attica, IN 47918

You are hereby notified that you have been sued by the person(s) or entity(ies) named as
Plaintiff(s) in the court and case number indicated in the above caption.

The Plaintiffs are represented in this action by: Kaitlin Coons Astorino, Isaacs & Isaacs,
P.S.C., 1601 Business Center Court, Louisville, Kentucky 40299, telephone: (502) 458-1000.

The nature of the suit against you is stated in the complaint that is attached to this summons.
It also states the relief sought or the demand made against you by the Plaintiffs.

An answer or other appropriate response in writing to the complaint must be filed either by
you or your attorney within twenty (20) days, commencing the day after you receive this summons
(or twenty-three (23) days if this summons was received by mail), or a judgment by default may
be rendered against you for relief demanded by Plaintiffs.

The following manner of service of Summons is hereby designated:

CERTIFIED MAIL

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}

Marion County Clerk (Seal)

Dated: 1/19/2021

 

 

 
Case 1:21-cv-00293-JPH-DLP Document 1-1 Filed 02/04/21 Page 13 of 18 PagelID #: 16

 

49D01-2101-CT-001827 Filed: 1/19/2021 11:34 AM
Clerk
Marion Superior Court 4 Marion County, indiana
STATE OF INDIANA ) IN THE COURT OF
)SS: MARION COUNTY
COUNTY OF MARION )
ROBERT D. MORRISON )
)
Plaintiffs, )
Vv. ) Cause no.
) ELECTRONICALLY FILED
JOSHUA J. ANDERSON, )
HANGING J. TRANSPORT, )
)
Defendants. )

SUMMONS

THE STATE OF INDIANA TO: Joshua J. Anderson
ADDRESS: 84547, 510 Ave
Elgin, NE 69358

You are hereby notified that you have been sued by the person(s) or entity(ies) named as
Plaintiff(s) in the court and case number indicated in the above caption.

The Plaintiffs are represented in this action by: Kaitlin Coons Astorino, Isaacs & Isaacs,
P.S.C., 1601 Business Center Court, Louisville, Kentucky 40299, telephone: (502) 458-1000.

The nature of the suit against you is stated in the complaint that is attached to this summons.
It also states the relief sought or the demand made against you by the Plaintiffs.

An answer or other appropriate response in writing to the complaint must be filed either by
you or your attorney within twenty (20) days, commencing the day after you receive this summons
(or twenty-three (23) days if this summons was received by mail), or a judgment by default may
be rendered against you for relief demanded by Plaintiffs.

The following manner of service of Summons is hereby designated:

1/19/2021 CERTIFIED MAIL

Dated: Pgh Eb & deka, vig ee
av éF

 

 

Marion County Clerk (Seal)

 
 

Case 1:21-cv-00293-JPH-DLP Document 1-1 Filed 02/04/21 Page 14 of 18 PagelD #: 17

Filed: 1/22/2021 2:05 PM
Clerk
Marion County, Indiana

STATE OF INDIANA ) IN THE MARION SUPERIOR COURT

COUNTY OF MARION mt CAUSE NO. 49D01-2101-CT-001827

ROBERT D. MORRISON,
Plaintiff,

Vv.

JOSHUA J. ANDERSON,
and HANGING J. TRANSPORT,

Defendants.

Nee emer Nee re ee ee eee Neen Se eee

APPEARANCE BY ATTORNEY IN CIVIL CASE
Party Classification: Defendants

1. The undersigned attorney and all attorneys listed on this form now
appear in this case for the following party member(s):
Joshua J. Anderson and Hanging J. Transport

2. Applicable attorney information for service as required by Trial Rule
5(B)(2) and for case information as required by Trial Rules 3.1 and 77 (B) is as
follows:

Christopher R. Whitten, Attorney No. 20429-49
James L. Culp, Attorney No. 26326-49
WHITTEN LAW OFFICE
6801 Gray Road, Suite H
Indianapolis, IN 46237
(317) 362-0225 Telephone
(317) 362-0151 Facsimile
cwhitten@indycounsel.com
jculp@indycounsel.com

3. There are other party members: No.

4. If first initiating party filing this case, the Clerk is required to assign
this case the following Case Type under Administrative Rule 8(b)(3): N/A.

D. I will accept service by FAX at the above noted number: No.

6. This case involves support issues. No. (If yes, supply social security
number for all family members).
Case 1:21-cv-00293-JPH-DLP Document 1-1 Filed 02/04/21 Page 15 of 18 PagelD #: 18

7, There are related cases: No.

8. This form has been served on all other parties. Certificate of Service
is attached: Yes.

9. Additional information required by local rule: N/A.
Respectfully submitted,

WHITTEN LAW OFFICE

Mi hw

Christopher R. Whitten/#20429-49

ae

 

 

. wn " - 2
Corse

James FV. Culp /#26326-49
Couns€él for Defendants

CERTIFICATE OF SERVICE

I do hereby certify that a copy of the foregoing has been served upon the
following by electronic mail, this 22>4 day of January 2021.

Kaitlin Coons Astorino, Esq.
ISAACS & ISAACS, P.S.C.

1601 Business Center Court
Louisville, KY 40299-2370
Counsel for Plaintiff we Sf

o v Zt
Christopher R. Whitten
James/ L. Cul

/

 

 

WHITTEN LAW OFFICE
6801 Gray Road, Suite H
Indianapolis, IN 46237
PH: 317/362-0225

FX: 317/362-0151
Case 1:21-cv-00293-JPH-DLP Document 1-1 Filed 02/04/21 Page 16 of 18 PagelID #: 19

Filed: 1/22/2021 2:05 PM
Clerk
Marion County, Indiana

STATE OF INDIANA) IN THE MARION SUPERIOR COURT

COUNTY OF MARION CAUSE NO. 49D01-2101-CT-001827

ROBERT D. MORRISON,
Plaintiff,

Vv.

JOSHUA J. ANDERSON,
and HANGING J. TRANSPORT,

Ne ee ee Nera See eee Neue” “ame! Soe Nee

Defendants.
MOTION FOR ENLARGEMENT OF TIME

Defendants, Joshua J. Anderson and Hanging J. Transport (“Defendants”),
by counsel, respectfully request the Court for an enlargement of time of 30 days
to respond to the Complaint (“Complaint”) of Plaintiff, Robert D. Morrison, and
in support thereof, states as follows:

1, Based upon information obtained by way of the court’s online docket
today, Defendants, Joshua J. Anderson and Hanging J. Transport have not yet
been served with a copy of the Summons and Complaint.

2. The time for Defendants to respond to Plaintiffs Complaint has not
yet expired.

3. Counsel for Defendants requires additional time to confer with his
clients and to prepare an appropriate response to the Complaint.

4. No prior enlargement of time has been requested or obtained.

WHEREFORE, Defendants, Joshua J. Anderson and Hanging J. Transport

by counsel, respectfully requests the Court for an enlargement of time of 30 days
Case 1:21-cv-00293-JPH-DLP Document 1-1 Filed 02/04/21 Page 17 of 18 PagelID #: 20

up to and including March 16, 2021, in which to respond to the Complaint and

for all other just and proper relief.

Respectfully submitted,

 
  

WHITTEN LAW OFFIC

Christopherk _ Whitten /#20429-49
James L Culp/#26326- 49
Counsel for Defendants

CERTIFICATE OF SERVICE

I do hereby certify that a copy of the foregoing has been served upon the
following by electronic mail, this 22"¢ day of January 2021.

Kaitlin Coons Astorino, Esq.
ISAACS & ISAACS, P.S.C.

1601 Business Center Court
Louisville, KY 40299-2370
Counsel for Plaintiff

 

 

Christop er. Whitten
James. ole yf

WHITTEN LAW OFFICE
6801 Gray Road, Suite H
Indianapolis, IN 46237
PH: 317/362-0225

FX: 317/362-0151
Case 1:21-cv-00293-JPH-DLP Document 1-1 Filed 02/04/21 Page 18 of 18 PagelD #: 21

STATE OF INDIANA ) IN THE MARION SUPERIOR COURT
) SS:
COUNTY OF MARION _ } CAUSE NO. 49D01-2101-CT-001827

ROBERT D. MORRISON,

Plaintiff,
FILED
v. January 22, 2021
JOSHUA J. ANDERSON, MARION county
and HANGING J. TRANSPORT,

)
)
)
)
)
) CLERK OF THE COURT
)
)
)
)

Defendants.
ORDER ON DEFENDANTS’ MOTION FOR ENLARGEMENT OF TIME
This matter came before the Court on Defendants’ Motion for Enlargement
of Time to Answer Complaint. The Court having been first duly advised, now
GRANTS the Motion.
IT IS THEREFORE ORDERED that Defendants Joshua J. Anderson and
Hanging J. Transport, shall have up to and including March 16, 2021, in which
to respond to Plaintiff's Complaint.

J 22, 2021
So ORDERED this day of anuary , 2021.

eel trig A 7 ambi? Mag.

Judge, Marion Superior Court 1

 

Copies to:
Kaitlin Coons Astorino, Esq. Christopher R. Whitten, Esq.
ISAACS & ISAACS, P.S.C. James L. Culp, Esq.
1601 Business Center Court WHITTEN LAW OFFICE
Louisville, KY 40299-2370 6801 Gray Rd, Suite H

Indianapolis, IN 46237
